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                    EXHIBIT G
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                             Pachulski Stang Ziehl & Jones LLP
                                        780 Third Avenue
                                           34th Floor
                                       New York, NY 10017
                                                                     April 04, 2022
BJS                                                                  Invoice 130152
                                                                     Client    05233
                                                                     Matter    00004
                                                                               BJS

RE: Avoidance Actions

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/04/2022
               EXPENSES                                                  $170.45
               TOTAL CURRENT CHARGES                                     $170.45

               TOTAL BALANCE DUE                                         $170.45
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Pachulski Stang Ziehl & Jones LLP                                          Page:      2
Art Van Furniture LLC O.C.C.                                               Invoice 130152
05233 - 00004                                                              April 04, 2022




  Summary of Expenses
  Description                                                                               Amount
Bloomberg                                                                                    $7.20
Federal Express [E108]                                                                      $48.20
Lexis/Nexis- Legal Research [E                                                              $65.25
Pacer - Court Research                                                                      $31.80
Reproduction Expense [E101]                                                                  $0.30
Reproduction/ Scan Copy                                                                     $17.70

                                                                                        $170.45
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Pachulski Stang Ziehl & Jones LLP                                                       Page:      3
Art Van Furniture LLC O.C.C.                                                            Invoice 130152
05233 - 00004                                                                           April 04, 2022




 Expenses
 11/18/2021   RE2       SCAN/COPY ( 64 @0.10 PER PG)                                        6.40
 01/05/2022   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                        1.60
 02/02/2022   FE        05233.00004 FedEx Charges for 02-02-22                             24.02
 02/02/2022   RE        ( 3 @0.10 PER PG)                                                    0.30
 02/02/2022   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                        1.40
 02/07/2022   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                        2.00
 02/24/2022   LN        05233.00004 Lexis Charges for 02-24-22                             65.25
 03/08/2022   FE        05233.00004 FedEx Charges for 03-08-22                             24.18
 03/21/2022   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 03/21/2022   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 03/23/2022   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                         0.50
 03/23/2022   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                         0.50
 03/23/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
 03/23/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
 03/23/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                         0.10
 03/23/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
 03/25/2022   BB        05233.00004 Bloomberg Charges through 03-25-22                      7.20
 03/25/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                         0.20
 03/25/2022   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                         0.40
 04/04/2022   PAC       Pacer - Court Research                                             31.80

   Total Expenses for this Matter                                                      $170.45
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Art Van Furniture LLC O.C.C.                                                              Invoice 130152
05233 - 00004                                                                             April 04, 2022


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        04/04/2022

Total Expenses                                                                                              170.45

Total Due on Current Invoice                                                                               $170.45

  Outstanding Balance from prior invoices as of        04/04/2022          (May not include recent payments)

A/R Bill Number          Invoice Date               Fees Billed         Expenses Billed              Balance Due



             Total Amount Due on Current and Prior Invoices:                                               $170.45
